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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §    4:19-MJ-433
v.                                               §
                                                 §
MICHAEL WEBB                                     §

                   NOTICE OF DESIGNATION OF CASE ASSIGNMENT


       Pursuant to Miscellaneous Order No. 3 (Revised June 20, 2000) (“Criminal Justice Act

Plan”), § IV(b), the undersigned attorney has indicated by his or her signature that he or she is

the staff attorney designated to work on this case.




Dated: 5/22/2019                              BY:/s/ John J. Stickney
                                              JOHN J. STICKNEY
                                              Asst. Federal Public Defender
                                              Massachusetts State Bar No. 687134
                                              819 Taylor Street; Room 9A10
                                              Fort Worth, TX 76102
                                              (817) 978-2753(TEL)
                                              (817) 978-2757(FAX)


                                 CERTIFICATE OF SERVICE

       I, John J. Stickney, hereby certify that on this the 22ND day of May 2019, a copy of the
foregoing notice was hand delivered to the United States Attorney's Office at 801 Cherry Street,
Suite 1700, Fort Worth, TX 76102-6897.


                                               /s/ John J. Stickney
                                              JOHN J. STICKNEY
